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            In the United States Court of Federal Claims
                          OFFICE OF SPECIAL MASTERS
                                   No. 12-746V
                               (Filed: June 6, 2014)

* * * * * * * * * * * * * *
ANDREW LINNEN,             *
                           *                     Attorneys’ fees and costs; stipulation
Petitioner,                *                     of facts; award in amount to which
                           *                     Respondent does not object
v.                         *
                           *
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
Respondent.                *
* * * * * * * * * * * * * *

Lawrence Cohan, Philadelphia, PA, for Petitioner
Traci Patton, Washington, DC, for Respondent


       UNPUBLISHED DECISION ON ATTORNEYS’ FEES AND COSTS 1

       On June 6, 2014, Respondent filed a joint stipulation concerning final attorneys’
fees and costs in the above-captioned matter. Previously, Mr. Linnen informally
submitted a draft application for attorneys’ fees and costs to Respondent for review.
Upon review of Petitioner’s application, Respondent raised objections to certain items.
Based on subsequent discussions, Petitioner amended his application to request



1
       Because this unpublished decision contains a reasoned explanation for the
undersigned’s action in this case, the undersigned intends to post this order on the United
States Court of Federal Claims website, in accordance with the E-Government Act of
2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). As provided by Vaccine Rule 18(b), each party has 14 days
within which to request redaction “of any information furnished by that party: (1) that is a
trade secret or commercial or financial in substance and is privileged or confidential; or
(2) that includes medical files or similar files, the disclosure of which would constitute a
clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, “the entire”
order will be available to the public. Id.
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$19,968.14, an amount to which Respondent does not object. The Court awards this
amount.

       Petitioner filed for compensation alleging that an influenza vaccine, which is
contained in the Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), and which he
received on October 25, 2010, caused him to develop Guillain-Barré Syndrome (GBS).
Petitioner received compensation based on the parties’ stipulation. Decision, filed on
February 21, 2014. Because Mr. Linnen received compensation, he is entitled to an
award of attorneys’ fees and costs. 42 U.S.C. 300aa-15(e).

      Petitioner seeks $19,968.14 in attorneys’ fees and costs for Petitioner’s
counsel. Additionally, petitioner represented that he incurred to out-of-pocket
expenses pursuant to General Order No. 9.

After reviewing the request, the Court awards the following:

        A sum of $19,968.14 in the form of a check payable to Petitioner
        and Petitioner’s counsel for attorneys’ fees and costs.

        In the absence of a motion for review filed pursuant to RCFC, Appendix B, the
clerk is directed to enter judgment in case 12-746V according to this decision.

        Any questions may be directed to my law clerk, Camille Collett, at (202) 357-
6361.

        IT IS SO ORDERED.

                                          s/Lisa Hamilton-Fieldman
                                          Lisa Hamilton-Fieldman
                                          Special Master
